                                                                      FJL
                                                                      ON
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                    UNITED STATES DISTRICT COURT           District Court
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA Eastern District of NC
                          WESTERN DIVISION

                             No.   5: 7:1- -CJ2.- 1.-i~- l D- \20
UNITED STATES OF AMERICA                )
                                        )
       V.                               )           INDICTMENT
                                        )
KILLIAN MACKEITHAN RYAN                 )



       The Grand Jury charges that:



       On or about May 15, 2020, in the Eastern District of North Carolina and

elsewhere, the defendant, KILLIAN MACKEITHAN RYAN, did willfully and

knowingly make a materially false, fictitious, and fraudulent statement and

representation in a matter within the jurisdiction of the executive branch of the

Government of the United States, to wit, by affirming under penalty of perjury that

he had not been in contact with his biological father for the ten years prior to the

statement, and that he had not had close or continuing contact with a foreign national

to whom he was bound by affection, influence, common interest and obligation, on an

Office of Personnel Management (OPM) Security Clearance Application (Form SF-

86).   The statements and representations were false because as KILLIAN

MACKEITHAN RYAN then and there knew, he had been in contact with his father

by telephone and over social media throughout that ten-year period, including in the



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weeks prior to the statement, and he had engaged in significant contact over social

media with an individual who had identified himself to KILLIAN MACKEITHAN

RYAN as a foreign national. All in violation of 18 U.S.C. § 1001(a)(2).



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MICHAEL F. EASLEY, JR.
United States Attorney



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BY: BARBARA D. KOCHER
Assistant United States Attorney.




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